        Case 4:18-cv-00905-SWW Document 21-3 Filed 09/19/19 Page 1 of 2

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                                            May 8, 2019


Joseph P. McKay
Khayyam M. Eddings
Friday Eldredge & Clark, LLP
400 West Capitol Avenue, Suite 2200
Little Rock, Arkansas 72201-3522
SENT VIA E-MAIL

       In Re: Kenya Thompson v. Union Pacific Railroad Company

Counsel:

         We are in receipt of Union Pacific’s answers and responses to Plaintiff’s First Set of
Interrogatories and First Request for Production of Documents. Some of Union Pacific’s
answers and responses contain improper objections and incomplete information. Please accept
this letter as Plaintiff’s good faith attempt to resolve these discovery issues without court action:

        Union Pacific objected to Interrogatory Nos. 3, 11, 12, 15, 20, and 21. Please withdraw
objections and provide complete answers. Union Pacific also objected to Request Nos. 2, 11, 13,
16, 18, 19, 20, 21, 26, 28, 29, 30, 31, 34, 35, 37, 38, 43, 44, 45, 46, and 47. Please withdraw
objections and provide complete responses and responsive material. As to Request No. 27,
please confirm that all responsive material to this Request has been produced.

       Union Pacific has lodged objections to several of plaintiff’s Interrogatories and Requests
for Production, and has answered “subject to” these objections. Please identify any information
and/or material withheld subject to Union Pacific’s objections for all applicable Interrogatory
answers and RFP responses. Please provide a privilege log describing in detail each document
withheld based on a privilege.

        Please contact me at 314-621-6115 to discuss the above-referenced discovery
deficiencies, as well as Union Pacific’s request for a protective order, and limitations proposed
by Union Pacific in Request No. 28. Thanks for your attention to this matter.




                                                                                                        EXHIBIT
                                                                                                           3
       Case 4:18-cv-00905-SWW Document 21-3 Filed 09/19/19 Page 2 of 2



                                          Sincerely,



                                          Scott M. Gershenson


SMG/




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